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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              July 11, 2024
                       IN THE UNITED STATES DISTRICT COURT                 Nathan Ochsner, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION
 LINDA BAUCUM AND                          §
 KENNETH BAUCUM                            §
                                           §
          Plaintiff,                       §
                                           §
 v.                                        §       Civil Action No. H-24-0953
                                           §
 JPMORGAN CHASE BANK, N.A.,                §
                                           §
          Defendant.                       §
                                           §
                                       ORDER
       Pending before the Court is Defendant’s Motion to Dismiss (Document No.

9). Having considered the motion, submissions, and applicable law, the Court

determines that Defendant’s motion should be granted.

                                I. BACKGROUND

       This is a real property foreclosure matter. Plaintiff Kenneth Baucum

(“Baucum”), on behalf of himself and his deceased mother Linda Baucum (“the

Decedent”) is the owner of 11811 Miramar Shores Drive, Houston, Texas 77065

(the “Property”). On June 3, 1999, the Decedent purchased the Property, executing

a note and deed of trust in which the Defendant JPMorgan Chase Bank, N.A.

(“Chase”) is identified as the lender. After the Decedent’s passing, her son, Baucum,

took ownership of the property and assumed the payments of the property to Chase

for several years. During the COVID-19 pandemic, Baucum experienced financial
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difficulties. After explaining his predicament to Chase, Baucum was placed on a 12-

month forbearance program spanning from November 2022 to October 2023. In

September 2023, Chase contacted Baucum seeking to rectify the outstanding balance

owed.

        Baucum alleges Chase failed to explain the process for getting out of

forbearance adequately, and “felt lied to” when told by Chase that Baucum would

either be required to qualify for a loan modification or post a lump sum payment in

order to resume regular mortgage payments upon expiration of the forbearance.1 In

response, Chase contends that it complied with all requirements as a loan servicer

under the law.

        Based on the foregoing, on May 1, 2024, Baucum filed suit in Harris County

District Court asserting claims for: (1) breach of contract; (2) violations of the Texas

Property Code; (3) violations of the Texas Debt Collection Act (“TDCA”); (4)

common law fraud; and (5) negligent misrepresentation. On March 15, 2024, Chase

removed this matter to this Court based on diversity jurisdiction. On June 21, 2024,

Chase filed a motion to dismiss for failure to state a claim upon which relief can be

granted. Baucum did not respond to Chase’s motion to dismiss within either the

original response date, or the date of this order.



        1
            Plaintiff’s Petition, Document 1, Exhibit A at 11 ¶ 11.

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                            II. STANDARD OF REVIEW

      Rule 12(b)(6) allows dismissal if a plaintiff fails “to state a claim upon which

relief can be granted.” Fed. R. Civ. P. 12(b)(6). Under Rule 8(a)(2), a pleading must

contain “a short and plain statement of the claim showing that the pleader is entitled

to relief.” Fed. R. Civ. P. 8(a)(2). Although “the pleading standard Rule 8 announces

does not require ‘detailed factual allegations,’ . . . it demands more than . . . ‘labels

and conclusions.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “[A] formulaic recitation of the

elements of a cause of action will not do.” Id. (quoting Twombly, 550 U.S. at 555).

      In deciding a Rule 12(b)(6) motion to dismiss for failure to state a claim, “[t]he

‘court accepts all well-pleaded facts as true, viewing them in the light most favorable

to the plaintiff.’” In re Katrina Canal Breeches Litig., 495 F.3d 191, 205 (5th Cir.

2007) (quoting Martin K. Eby Constr. Co. v. Dall. Area Rapid Transit, 369 F.3d 464,

467 (5th Cir. 2004)). To survive the motion, a plaintiff must plead “enough facts to

state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570.

“Conversely, ‘when the allegations in a complaint, however true, could not raise a

claim of entitlement to relief, this basic deficiency should . . . be exposed at the point

of minimum expenditure of time and money by the parties and the court.’” Cuvillier

v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007) (quoting Twombly, 550 U.S. at 558).




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                               III. LAW & ANALYSIS

       Chase moves to dismiss Baucum’s causes of action, contending Baucum fails

to state any claim upon which relief may be granted. Chase contends dismissal is

proper because each of Baucum’s claims fail as a matter of law. 2 Baucum did not

respond to Chase’s motion to dismiss, failing to rebut or offer evidence to counter

Chase’s contentions. Pursuant to Local Rule 7.4, failure to respond is taken as a

representation of no opposition. S.D. Tex. Local R. 7.4. The Court will consider, in

turn, each claim Chase contends should be dismissed.

A.     Breach of Contract

       Baucum’s complaint alleges Chase violated the deed of trust by attempting to

sell the Property at a foreclosure sale scheduled for March 5, 2024, and failed to

provide pre-foreclosure notices to Baucum. Chase contends that Baucum’s

allegations demonstrate that Baucum breached the deed of trust by failing to make

payments when due. Chase also contends that Baucum has failed to identify any

contract provision breached by Chase or any evidence showing Baucum was

damaged due to an alleged breach by Chase. Baucum offers no rebuttal.




       2
         Chase also makes several arguments that Baucum, acting as the son and successor
in interest of the Decedent, does not have standing to enforce the dead of trust, which was
signed by the Decedent prior to her passing. Since the Court finds that none of Baucum’s
claims state a claim upon which relief can be granted on a basis independent from standing,
the Court declines to consider Chase’s standing arguments.

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      When exercising diversity jurisdiction over a question based upon state law,

federal courts should apply the substantive law of that state. Crisalli v. ARX Holding

Corp., 177 F. App’x 417, 419 (5th Cir. 2006) (citing Erie R.R. Co. v. Tompkins, 304

U.S. 64, 72 (1938)). Contract law is an area of state law. Crisalli, 177 F App’x. at

419 (citing Doctor’s Associates, Inc. v. Casarotto, 517 U.S. 681, 686 (1996)). Texas

law, therefore, governs a suit for breach of contract. To succeed on a claim for breach

of contract under Texas law, a plaintiff must show: “(1) the existence of a valid

contract; (2) performance or tendered performance by the plaintiff; (3) breach of the

contract by the defendant; and (4) damages sustained by the plaintiff as a result of

the breach.” Mullins v. TestAmerica, Inc., 564 F.3d 386, 418 (5th Cir. 2009) (citing

Aguiar v. Segal, 167 S.W.3d 443, 450 (Tex.App.–Houston [14th Dist.] 2005, pet.

denied)).

      Most pertinent in the present matter, the Fifth Circuit has made clear that in

instances where a complaint lacks allegations that can plausibly support the required

elements of a claim, the claim should be dismissed. Blackburn v. City of Marshall,

42 F.3d 925, 931 (5th Cir. 1995). The Fifth Circuit has also made clear that a

complaint containing only a general allegation lacks the further factual enhancement

needed to state a plausible breach of contract claim by failing to put a Defendant on

notice as to the nature of the contract breach. See Guajardo v. JP Morgan Chase

Bank, N.A., 605 Fed. Appx. 240, 243 (5th Cir. 2015) (affirming a district court’s

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dismissal of a breach of contract claim wherein a plaintiff only alleged generally that

the Defendant breached unspecified contract provisions); Williams v. Wells Fargo

Bank, N.A., 560 Fed.Appx. 233, 238 (5th Cir. 2014) (“[A] claim for breach of a note

and deed of trust must identify the specific provision in the contract that was

breached.”).

      In reviewing the language of Baucum’s breach of contract claim, the claim

spanned a total of two sentences, stating that “there exists a valid, enforceable

contract between Plaintiff and Defendant; Plaintiff has standing to sue for breach of

contract; Plaintiff performed, tendered performance, or was excused from

performing its contractual obligations; Defendant breached the contract; and the

breach of contract by Defendant caused Plaintiff’s injury.” 3 Given the Fifth Circuit’s

guidance that a plaintiff must provide sufficient specificity regarding the provisions

of the contract allegedly breached, the Court finds that a mere recitation of the

elements of a breach of contract claim are insufficient to meet Baucum’s required

pleading standard. As noted by Chase, Baucum’s claim fails to provide any

specificity regarding what contract or provision of a contract Chase breached.

Accordingly, the Court finds Baucum’s breach of contract claim should be




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          Plaintiff’s Petition, Document 1, Exhibit A at 13 ¶ 17.

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dismissed. The Court now addresses Baucum’s claim regarding an alleged violation

of the Texas Property Code.

B.    Violation of Texas Property Code

      Baucum’s complaint alleges that Chase violated section 5.065 of the Texas

Property Code by failing to provide him with “proper and timely notice of default,

the opportunity to cure the default, notice of intent to accelerate the debt, notice of

acceleration, and notice of foreclosure sale.” 4 Chase contends that Baucum’s claim

fails as a matter of law because section 5.065 is inapplicable to mortgage loan

contracts. Baucum offers no rebuttal.

       Under Section 5.065 of the Texas Property Code, “a purchaser in default

under an executory contract for the conveyance of real property” maintains a right

to cure default and avoid enforcement of a seller’s remedy within thirty days after

the date notice is given. TEX. PROP. CODE § 5.065. Here, Chase contends that

Section 5.065 is inapplicable in the present matter because the case involves a

mortgage loan, not an executory contract. Chase contends that no allegation in

Baucum’s complaint suggests any executory contract exists, and further notes that

Baucum identifies the nature of the loan in dispute as a mortgage loan in its




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          Plaintiff’s Petition, Document 1, Exhibit A at 17 ¶ 32.

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complaint,5 and thus, is unable to rely upon a section of the Texas Property Code

that requires the contract in dispute to be executory in nature. Based on the

foregoing, the Court finds that Chase has shown that Baucum failed to adequately

state a violation of Texas Property Code claim, and thus, the claim should be denied.

The Court now addresses Baucum’s claim regarding an alleged breach of the TDCA.

C.    Violations of the Texas Debt Collection Act

      Baucum’s complaint alleges that Chase violated portions of Section

392.304(a) of the TDCA, contending that Chase fraudulently misrepresented certain

items to Baucum, and used deceptive means to collect a debt. Chase contends that

Baucum fails to identify any TDCA violation committed by Chase, or any damages

sustained as a result of such violation. Baucum offers no rebuttal.

      To state a claim under the TDCA, a plaintiff must allege that: (1) the debt

owed is a consumer debt; (2) the defendant is a debt collector as defined by the

TDCA; (3) and the defendant committed a wrongful act in violation of the TDCA

against the plaintiff; (4) and the plaintiff was injured as a result. See Tex. Fin. Code

§§ 392.001–392.404. Under the TDCA, a debt collector is not precluded from

“exercising or threatening to exercise a statutory or contractual right of seizure,




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          Plaintiff’s Petition, Document 1, Exhibit A at 10 ¶ 7.

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repossession, or sale that does not require court proceedings.” Tex. Fin. Code §

392.301(b)(3).

      Here, Baucum’s complaint alleges that Chase violated the TDCA by seeking

to foreclose while violating the Texas Property Code. More specifically, Baucum

argues that Chase “used a fraudulent, deceptive, or misleading representation that

misrepresents the character extent, or amount of the consumer debt” in violation of

Tex. Fin. Code § 392.304(a)(8). Chase contends that Baucum has not alleged any

facts that shows Chase lacked the contractual right to foreclose. The Court notes that

Baucum failed to provide any evidence identifying the character, extent, or amount

of debt owed that is required under the law, but rather, made general statements

about Chase informing Baucum of the options available to repay the outstanding

balance of his mortgage loan that accrued during the forbearance period.

Additionally, Chase contends that Baucum has failed to allege any facts that would

show any TDCA violation caused Baucum damage, noting that no foreclosure sale

has actually occurred. Baucum did not respond or offer any evidence that the TDCA

should apply or that he has suffered any damage from a violation of the TDCA.

Accordingly, the Court finds that Baucum’s TDCA claim should be dismissed. The

Court now turns to Baucum’s common law fraud claim.




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D.     Common Law Fraud

       Baucum’s     complaint    alleges    Chase    made     false   and    material

misrepresentations to Baucum when informing him that his loan would be placed in

forbearance, neglecting to inform him that he would be required to qualify for loan

modification or pay the lump sum required at the end of the forbearance period.

Baucum’s complaint further alleges that Chase engaged in deception by not

informing Baucum of repayment options until a month before the forbearance period

expired, resulting in Baucum’s injury. Chase contends that Baucum fails to identify

any single false representation made by Chase, nor any individual authorized to

make representations on behalf of Chase. Chase further contends that Baucum fails

to allege any facts with the required specificity to show Chase made a false statement

upon which Baucum relied that caused him damage. Baucum offers no rebuttal.

       Under the Federal Rules of Civil Procedure, a claim alleging common law

fraud must “state with particularity the circumstances constituting fraud or mistake.”

Fed. R. Civ. P. 9(b). The Fifth Circuit has made clear that in order to plead a claim

of common law fraud with required particularity, a Plaintiff must allege the “time,

place and contents of the false representations, as well as the identity of the person

making the misrepresentation and what [that person] obtained thereby.” Williams v.

WMX Techs., 112 F.3d 175, 177 (5th Cir. 1997) (citing Tuchman v. DSC

Communications Corp., 14 F.3d 1031, 1068 (5th Cir. 1994)).

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       Here, Chase contends that Baucum’s common law fraud claim fails for several

reasons. First, Baucum’s complaint fails to specify any identities of person’s

Baucum spoke with at Chase who allegedly made the misrepresentation, instead

providing general descriptions alleging a phone call took place. Second, Baucum’s

complaint fails to identify the specific timing the phone calls with Chase

representatives allegedly took place, instead generally referencing that a call

occurred sometime before the close of the forbearance period. Third, Baucum’s

complaint fails to state with any particularity the actual false or fraudulent statements

allegedly made by Chase employees. Rather than allege the specific statements made

by Chase, Baucum’s complaint relies upon the premise that Chase should have

provided earlier communications to Baucum articulating his options for repayment

at the end of forbearance. The Court finds no specific language offered in Baucum’s

complaint that identifies a fraudulent statement made by Chase. Thus, given the Fifth

Circuit’s guidance that a plaintiff must be specific as to the timing, identity, and

contents of fraudulent statements, the Court finds that Baucum’s common law fraud

claim should be dismissed. The Court now addresses Baucum’s negligent

misrepresentation claim.

E.     Negligent Misrepresentation

       Baucum’s complaint alleges that Chase “made false representations of

material facts … regarding the loan modification process … with the intention that

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[Baucum] rely and act on such representations.”6 Chase contends that Baucum is

asserting negligent misrepresentation based on general allegations that Chase made

false representations regarding the loan modification process, the same allegations

that underpin the fraud claims Baucum raises. Chase further contends that Plaintiff

has “failed to specify the ‘who, what, when, where, and how’” of the alleged fraud

and misrepresentation required under Federal Rule of Civil Procedure 9(b).7 Baucum

offers no rebuttal.

      Under Texas law, to state a cause of action for negligent misrepresentation, a

plaintiff must show: “(1) a representation made by a defendant in the course of its

business or in a transaction in which it has a pecuniary interest; (2) the representation

conveyed ‘false information’ for the guidance of others in their business; (3) the

defendant did not exercise reasonable care or competence in obtaining or

communicating the information; and (4) the plaintiff suffers pecuniary loss by

justifiably relying on the representation.” JP Morgan Chase Bank, N.A. v. Orca

Assets G.P., L.L.C., 546 S.W.d 648, 653-54 (Tex. 2018) (citing Fed. Land Bank

Ass’n of Tyler v. Sloane, 825 S.W.2d 439, 442 (Tex. 1992). The Fifth Circuit has

made clear that when a plaintiff’s fraud and negligent misrepresentation claims are



      6
          Plaintiff’s Petition, Document No. 1, Exhibit A at 17 ¶ 34.
      7
       Defendant JP Morgan Chase Bank, N.A.’s Motion to Dismiss Complaint,
Document No. 9 at 18.

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based on the same set of alleged facts, Federal Rule of Civil Procedure 9(b)’s

heightened pleading requirements requiring additional specificity apply. Bechmark

Elecs., Inc. v. J.W. Huber Corp., 343 F.3d 719, 723 (5th Cir. 2003).

      Here, Baucum’s negligent misrepresentation claim fails to state a claim upon

which relief can be granted by failing to meet the required specificity under Rule

9(b), by failing to identify any individual who may have made a misrepresentation,

or the date or location of any alleged misrepresentation. Given the Fifth Circuit’s

clear guidance that a plaintiff must be specific as to the timing, identity, and contents

of alleged negligent misrepresentations, the Court finds that Baucum’s negligent

misrepresentation claim should be dismissed.

      Accordingly, the Court finds that Chase’s motion to dismiss should be

granted.8

                                 IV. CONCLUSION

      Based on the foregoing, the Court hereby

      ORDERS that Defendant’s Motion to Dismiss (Document No. 9) is

GRANTED. The Court further




      8
         Baucum also requests injunctive relief and damages. Given the Court’s finding
that Baucum has stated no causes of action upon which relief can be granted, the Court
declines to award attorney’s fees or damages in the present matter.

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     ORDERS that Plaintiff Linda Baucum and Kenneth Baucum’s claims against

Defendant JPMorgan Chase Bank N.A. are DISMISSED.

     SIGNED at Houston, Texas, on this 11th day of July, 2024.




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